                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                                No. CR96-4033-MWB
 vs.                              MEMORANDUM OPINION AND
                                       ORDER REGARDING
 BERNARD EARL WHEAT,                DEFENDANT’S MOTION TO
                                VACATE, SET ASIDE OR CORRECT
          Defendant.                      SENTENCE
                     ____________________


                I. INTRODUCTION AND FACTUAL BACKGROUND
       In a six count second superseding indictment returned on October 29, 1996,
defendant Bernard Earl Wheat and ten co-defendants were charged with one or more
federal offenses, ranging from conspiracy to distribute and possess marijuana, cocaine, and
methamphetamine, in violation of 21 U.S.C. § 21, to possessing methamphetamine with
intent to distribute, in violation of 21 U.S.C. § 841(a)(1) , to being a felon in possession
of a firearm that has been transported in interstate commerce, in violation of 18 U.S.C.
§ 922(g)(1) and 18 U.S.C. § 924(a)(2).
       On June 11, 1996, defendant Wheat pleaded guilty to one count of possessing
methamphetamine with intent to distribute. The court allowed defendant Wheat to remain
free on bond pending sentencing. At his sentencing, the court granted defendant Wheat’s
motion for downward departure for overstatement of his criminal history score. Defendant
Wheat was sentenced to 151 months incarceration. Defendant Wheat did not appeal his
sentence or conviction.
       Pursuant to 28 U.S.C. § 2255, defendant Wheat filed a pro se Motion To Vacate,



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Set Aside Or Correct Sentence. Defendant Wheat has subsequently amended his § 2255
motion three times. Defendant Wheat raised the following claims in his § 2255 motion and
his amendments: that his counsel was ineffective for failing to raise issues under Apprendi
v. New Jersey, 530 U.S. 466 (2000); that the court improperly enhanced his sentence in
light of the Apprendi decision; that his counsel was ineffective for failing to seek to
exclude testimony of government witnesses because they received leniency on criminal
charges they faced for their cooperation; that the court lacked jurisdiction because the
Controlled Substances Act of 1970, 21 U.S.C. §§ 801-904, constitutes an unconstitutional
delegation of power under the Commerce Clause; that his conviction was in violation of
the Double Jeopardy Clause because the State of Iowa had previously pursued a forfeiture
action against him; that the drug quantity used to calculate his sentence was incorrect; that
the government improperly amended the indictment and the government manipulated the
charge to increase the length of his sentence; that his counsel was ineffective for failing to
advise the court of his behavior while on pretrial release as a ground for a downward
departure in his sentence; and, that his counsel was ineffective in not objecting to the two
level enhancement for possession of a firearm in connection with the drug offense. On
September 16, 2002, the court denied defendant Wheat’s Motion To Vacate, Set Aside Or
Correct Sentence.
       Defendant Wheat has now filed a second § 2255 motion, the motion currently before
the court. In his current § 2255 motion, Wheat asserts several claims that the sentencing
procedure used in this case was in violation of Article III, as well as the Fifth and Sixth
Amendments to the United States Constitution. If it plainly and conclusively appears from
the face of a § 2255 motion and the files and records of the case that the moving defendant
is not entitled to any relief, the court shall summarily dismiss the motion. 28 U.S.C. §
2255; Rule 4(b) of the Rules Governing Section 2255 Proceedings in the United States

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District Courts.


                                 II. LEGAL ANALYSIS
       Section 2255 requires petitioners to seek approval from the court of appeals to file
a second or successive petition. See 28 U.S.C. §§ 2244, 2255. This court must dismiss
for lack of subject matter jurisdiction any successive petition that is filed without the
Eighth Circuit Court of Appeals’s permission. See Boykin v. United States, 242 F.3d 373,
2000 WL 1610732, at *1 (8th Cir. Oct. 30, 2000) (unpublished decision).
       Here, in his second § 2255 motion, Wheat proceeded directly to this district court,
bypassing the certification requirement.     Because Wheat failed to comply with the
certification requirement, this court lacks the power and authority to entertain his motion.
Id. The court, therefore, dismisses Wheat’s motion for lack of jurisdiction. Id.
       IT IS SO ORDERED.
       DATED this 4th day of September, 2007.


                                                 __________________________________
                                                 MARK W. BENNETT
                                                 U. S. DISTRICT COURT JUDGE
                                                 NORTHERN DISTRICT OF IOWA




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